Case 1:11-mj-00558-TRJ Document1 Filed 07/18/11 Page 1 of 1 PagelD# 1

AO 91 (Rev. 08/09) Criminal Complaint

UNITED STATES DISTRICT COURT ___

for the

Eastern District of Virginia

United States of America
Vv.
Case No. 1:1 VWUy

Syed Ghulam Nabi Fai
and
Zaheer Ahmad

Defendant(s)

CRIMINAL COMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

On or about the date(s) of | between 1995 and July 18,2011 inthecountyof ——s=Faairfax in the
Eastern _ District of Virginia , the defendant(s) violated:
Code Section Offense Description
18 USC 371 conspiracy to act as an agent of a foreign principal without registering with the
22 U.S.C. 612 Attorney General, and to falsify, conceal, and cover up material by tricks,
18 U.S.C. 1001 schemes, and devices, in matters within the jurisdiction of agencies of the

executive branch of the Government of the United States

18 U.S.C. 981(a)(1)(C) and Forfeiture
28 U.S.C. 2461(c)

This criminal complaint is based on these facts:
See Attached Affidavit

Continued on the attached sheet.

Complainant's signature

Sarah Webb Linden, Special Agent, FBI

Printed name and title

Sworn to before me and signed in my presence.

Date: 07/18/2011 /s/Thomas Rawles Jones, Jr.

Judge's signature

City and state: __ ___ Alexandria, Virginia

Thomas Rawles Jones, Jr., U.S. Magistrate Judge

Printed name and title
